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Ian Shapiro                                                                               Via CM/ECF
+1 212 479 6441
ishapiro@cooley.com
                                                             10/21/2020

October 20, 2020

The Hon. Stewart D. Aaron                                                  Request GRANTED.
Daniel Patrick Moynihan United States Courthouse                           SO ORDERED.
500 Pearl Street                                                           Dated: 10/21/2020
New York, NY 10007

Re: SM Kids, LLC v. Google LLC, et al. (18-cv-2637)

Dear Judge Aaron:

        On behalf of both Parties, we request to extend the deadline to file the Parties’ joint letter
identifying the Parties’ positions concerning custodians, search terms, and date ranges (“Letter”)
to Friday, October 23, 2020. The Court ordered the Parties to file the Letter by
Wednesday, October 21. (ECF No. 117, ¶ 4). There have been no other requests for an
extension related to the Letter. The Parties sought to meet and confer today in order to meet the
original deadline, but pre-existing scheduling conflicts on both sides precluded this. The Parties
are meeting and conferring tomorrow. As such, we ask for a short extension of time to file the
Letter, which will allow the Parties to meaningfully confer on and attempt to resolve the
discovery issues at hand. This extension does not affect any other deadlines. Plaintiff joins in
this request.



Sincerely,

Cooley LLP


By: _/s/ Ian Shapiro_________
Ian Shapiro
Attorneys for Defendants




236342491




                              Cooley LLP 55 Hudson Yards New York, NY 10001-2157
                                   t: (212) 479-6000 f: (212) 479-6275 cooley.com
